Case 3:16-mj-00092-MEL Document 3 Filed 01/26/16 Page 1 of 2

 

AO 93 (Rev. 12/09) Search and Seizure Warrant My : he :
UNITED ee (@URT
forthe

District of Puerto ae |

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by nante and address) Case No. / G - 0 q 2 ( a)

One USPS Priority Mail Express Parcel bearing tracking
#ELO11798643US affixed to the parcel.

YY aw wee

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the District of Puerto Rico
(identify the person or describe the property to be searched and give its location):

One USPS Priority Mail Express Parcel bearing tracking #EL011798643US affixed to the parcel.

The person or property to be searched, described above, is believed to conceal (identify the person or describe the

property to be seized):
Controlled substances, materials and documents reflecting the distribution of controlled substances through the U.S.

Mails, including money and/or monetary instruments consisting of payment and/or proceeds relative to the distribution
of controlled substances.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or

 

property.
YOU ARE COMMANDED to execute this warrant on or before / / 2 é / / ¢
(not lo exceed 14 days)
@ in the daytime 6:00 a.m. to 10 p.m. C1 at any time in the day or night as ‘1 find reasonable cause has been
established,

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty

(name)

© I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) © for days (not to exceed 30).

G until, the facts justifying, theater specitic date of

Date and time issued: (/2o[ Ie ef /0: B4 am.

| Ne 'S signature’
SAN JUAN, PUERTO RICO / ce} ee
Cit 1 state: MARCOS Loree
ity and state Brame Mamishtty ted

   
 

 

 
 

Case 3:16-mj-00092-MEL Document 3 Filed 01/26/16 Page 2 of 2

AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

 

 

 

 

Return
Case No.: Dafe andjfime warrant executed: Copy of warrant and inventory left with:
1 (, - oF ou (.) 1/22} 1G |Z oO ? Ae U.S.P.1.S, San Juan Field Office

 

Inventory made in the presence of

LuTa Slane [USCS COININLIA CTR

 

| Lnventory of the property taken and name of any person(s) seized:
Qaece. Conrmives 4%0 Genrt oF
CER (yuan ® .

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

Date: _A UL { lo

 

Executing officer's signature

Brian Thompson/U.S. Postal Inspector

 

Printed nan and title

 

 

 
